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                                                                                          8 Heide Kurtz

                                                                                          9                               UNITED STATES BANKRUPTCY COURT
                                                                                         10                                CENTRAL DISTRICT OF CALIFORNIA
                                                                                         11                                       LOS ANGELES DIVISION
Smiley, Wang Ekvall & Strok, LLP




                                                                                         12 In re                                               Case No. 2:12-bk-50767-BR
                                   T e l 7 14- 9 66- 1 0 00 F a x 7 1 4- 9 6 6- 1 0 02
                                      65 0 To w n Ce nt er Dr iv e, Su i te 9 5 0




                                                                                         13 THE WOMAN'S CLUB OF HOLLYWOOD,                      Chapter 11
                                         Cos ta Mes a, C a l if or n i a 9 26 2 6
        Weiland, Golden,




                                                                                            CALIFORNIA,
                                                                                         14                                                     STIPULATION BETWEEN THE TRUSTEE
                                                                                                                Debtor.                         AND SCAPA AND ASSOCIATES
                                                                                         15                                                     AUTHORIZING THE ADDITIONAL USE OF
                                                                                                                                                CASH COLLATERAL AND AMENDING
                                                                                         16                                                     THE COURT-APPROVED CASH
                                                                                                                                                COLLATERAL BUDGET
                                                                                         17
                                                                                                                                                [No Hearing Required]
                                                                                         18

                                                                                         19 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                                         20              Heide Kurtz, the chapter 11 trustee (the "Trustee") for the bankruptcy estate (the
                                                                                         21 "Estate") of The Woman's Club of Hollywood, California (the "Debtor"), by and through her

                                                                                         22 undersigned counsel, and Scapa and Associates ("Scapa," and together with the Trustee,

                                                                                         23 the "Parties"), by and through its counsel of record, hereby enter into this Stipulation

                                                                                         24 Between the Trustee and Scapa and Associates Authorizing the Additional Use of Cash

                                                                                         25 Collateral and Amending the Court-Approved Cash Collateral Budget (the "Stipulation").

                                                                                         26 In support of the Stipulation, the Parties refer to the following recitals:

                                                                                         27

                                                                                         28
                                                                                              859322.1                                         1                                 STIPULATION
                                                                                         Case 2:12-bk-50767-BR         Doc 221 Filed 09/10/13 Entered 09/10/13 16:51:58           Desc
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                                                                                          1                                             RECITALS
                                                                                          2              A.   On December 13, 2012, a voluntary petition was filed under chapter 11 of

                                                                                          3 the Bankruptcy Code.

                                                                                          4              B.   The Trustee is the duly appointed chapter 11 trustee.

                                                                                          5              C.   Scapa asserts a security interest in the Debtor's real property and rents.

                                                                                          6              D.   On July 3, 2013, the Trustee filed a Motion for Order Authorizing Use of

                                                                                          7 Cash Collateral Through October 27, 2013, Pursuant to 11 U.S.C. § 363(c) [Docket

                                                                                          8 No. 174] (the "Motion"). On July 31, 2013, the Court entered an order granting the Motion

                                                                                          9 (the "Cash Collateral Order"). The Cash Collateral Order authorizes the Trustee to use

                                                                                         10 cash collateral on a final basis from July 29, 2013, through and including October 27,

                                                                                         11 2013, as set forth in the budget attached as Exhibit "1" to the Motion (the "Budget"). The
Smiley, Wang Ekvall & Strok, LLP




                                                                                         12 Cash Collateral Order reserves for the Trustee the right to seek additional use of cash
                                   T e l 7 14- 9 66- 1 0 00 F a x 7 1 4- 9 6 6- 1 0 02
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                                                                                         13 collateral by further court order and the right to use additional cash collateral with Scapa's
                                         Cos ta Mes a, C a l if or n i a 9 26 2 6
        Weiland, Golden,




                                                                                         14 written consent.

                                                                                         15              E.   The Debtor's general liability insurance coverage will expire on

                                                                                         16 September 13, 2013. The Court-approved Budget authorizes the Trustee to expend

                                                                                         17 $232.00 per month for general liability insurance. This monthly amount is based on the

                                                                                         18 Debtor's monthly obligation under its prior premium financing arrangement. The total new

                                                                                         19 annual premium for general liability insurance coverage, including taxes and fees, is

                                                                                         20 $2,744.01 (the "Premium"). Without further premium financing, the Trustee must pay

                                                                                         21 $929.75 up front and the balance ($1,814.26) within 30 days. If the premium is financed,

                                                                                         22 the Trustee will be required to pay $929.75 up front and the balance is payable in

                                                                                         23 9 monthly installments of $212.91, for a grand total of $2,845.94.

                                                                                         24              F.   The Estate has the ability to pay the premium without financing. As such,

                                                                                         25 the Trustee seeks to avoid the interest associated with additional premium financing and

                                                                                         26 the cost associated with a motion filed on shortened time to obtain approval of further

                                                                                         27 premium financing.

                                                                                         28
                                                                                              859322.1                                       2                                   STIPULATION
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        Case 2:12-bk-50767-BR                     Doc 221 Filed 09/10/13 Entered 09/10/13 16:51:58                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                       650 Town Center Drive, Suite 950, Costa Mesa, CA 92626

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN THE TRUSTEE AND
SCAPA AND ASSOCIATES AUTHORIZING THE ADDITIONAL USE OF CASH COLLATERAL AND AMENDING THE
COURT-APPROVED CASH COLLATERAL BUDGET will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 10, 2013, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Michael Jay Berger michael.berger@bankruptcypower.com, yathida.nipha@bankruptcypower.com
Michael Jay Berger michael.berger@bankruptcypower.com, yathida.nipha@bankruptcypower.com
Jerome S Cohen jsc@jscbklaw.com
Lei Lei Wang Ekvall lekvall@wgllp.com, tjones@wgllp.com
Beth Gaschen bgaschen@wgllp.com, msciesinski@wgllp.com
Alan Harris law@harrisandruble.com
Jeffrey Kagan kagan.j@wssllp.com, javaheri.s@wssllp.com
Heide Kurtz (TR) trustee@hkurtzco.com, ca45@ecfcbis.com
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Ron Maroko ron.maroko@usdoj.gov
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Ronald E Michelman ronaldmichelman@sbcglobal.net
Alda Shelton aldashelton@yahoo.com
Autumn D Spaeth aspaeth@wgllp.com, tjones@wgllp.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 10, 2013, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Via Personal Delivery
The Honorable Barry Russell, U.S. Bankruptcy Courtroom 1668, 255 E. Temple Street, Los Angeles, CA 90012
                                                                     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/10/13                         Lindsay Fisk                                                   /s/ Lindsay Fisk
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
